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                                                             The Honorable MARSHA J. PECHMAN
 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
10
     CASSIE CORDELL TRUEBLOOD, next                         NO. 2:14-cv-1178 MJP
11   friend of A.B., an incapacitated person, et al.,
                                                            DECLARATION OF
12                              Plaintiffs,                 DR. THOMAS J. KINLEN –
                                                            AUGUST 2023 DATA &
13          v.                                              CONTEMPT REPORT
14   THE WASHINGTON STATE
     DEPARTMENT OF SOCIAL AND
15   HEALTH SERVICES, et al.,
16                              Defendants.
17

18          I, Thomas J. Kinlen, am over the age of 18 years of age, competent to testify to the

19   matters below, and declare based upon personal knowledge:

20          1.      I am the Director of the Office of Forensic Mental Health Services (OFMHS)

21   within the Behavioral Health Administration (BHA) of the Department of Social and Health

22   Services (DSHS). As the Director, I am also a Deputy Assistant Secretary and an Appointing

23   Authority who is an authorized representative of the Department of Social and Health Services.

24          2.      As the Director, I am responsible for the delivery of forensic services in the State

25   of Washington which includes competency to stand trial evaluations, competency restoration,

26   and not guilty by reason of insanity evaluations. I am responsible for the operation of OFMHS


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 1   which includes oversight of contract / administrative management with competency restoration
 2   sites, establishing consistent policies, procedures and practices across the competency sites and
 3   State Hospitals, assisting forensic evaluators in completing job duties as assigned, and working
 4   with the key stakeholders across the state in addressing any issues and concerns related to
 5   forensic patients.
 6          3.      I joined the Department of Social and Health Services in May 2016. Prior to
 7   joining BHA, I served as the Superintendent at Larned State Hospital, in Larned, Kansas in which
 8   I was also serving as the Clinical Director, Supervising Psychologist for both the Sexual Predator
 9   Treatment Program and the State Security Program, and as the Director of Clinical Training for
10   both the APA Accredited Psychology Internship and the APPIC certified Postdoctoral
11   Fellowship training programs.
12          4.      On July 7, 2016, this Court issued an order directing the Department to provide
13   data in a format presented in a declaration by Dr. Bryan Zolnikov on June 17, 2016
14   (Dkt. No. 278). I have reviewed the Court’s order and worked with data staff to coordinate and
15   provide the data the Court has requested. Attached as Attachment A is a true and correct copy of
16   the February 2016 – July 2023 summary data of wait times, as well as the charts containing
17   individual class members’ wait times for July 2023. The data is now reported using the modified
18   timelines set by the Court’s Order (allowing for up to seven days for transmission of the court
19   order). See Dkt. No. 408.
20          5.      Fines are now calculated in accordance with the modified timelines adopted by
21   the Court. Dkt. No. 408. Fines are assessed on a per-class member, per day basis. For inpatient
22   admissions fines are calculated at $500 for the first six days of non-compliance, and $1000 per
23   day for the seventh day and each additional day of non-compliance; for in-jail evaluations: $750
24   for the first six days of non-compliance, and $1500 per day for the seventh day and each
25   additional day of non-compliance. For additional information about how compliance is
26   calculated, see the Parties Joint Motion to Adopt the Mediated Settlement Agreement


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 1   at Dkt. No. 389. The total fines are also currently being adjusted per the Second Revised
 2   Agreement Resolving Plaintiffs’ Pending Motions and Establishing a Settlement Negotiation
 3   Process (Dkt. No. 535-1), as well as the Court’s Order Granting Final Approval of Amended
 4   Settlement Agreement (Dkt. No. 623).
 5           6.     Attached as Attachment B is a true and correct proposed calculation of inpatient
 6   contempt fines for the period of July 1 – July 31, 2023. The first page contains a summary of the
 7   calculated restoration fines. The following pages include individual class member data, and
 8   demonstrate the calculations the Department used in order to reach the proposed restoration fine.
 9   This fines calculation also includes the temporary reduction in contempt fines as set out by the
10   Parties’ Second Revised Agreement Resolving Plaintiffs’ Pending Motions and Establishing a
11   Settlement Negotiation Process. Dkt. No. 535-1, at 7. Based on this data the Department
12   proposes a total of $6,116,000 in restoration contempt fines for the period of July 1 – July 31,
13   2023.
14           7.     Attached as Attachment C is an updated calculation of inpatient contempt fines
15   for the period of June 1 – June 30, 2023. Data updates were made to cases tracked in the Forensic
16   Data System (FDS) due to a combination of changes in client status from in-jail to PR, a state
17   hospital admission, receiving orders late, and court order withdrawals, resulting in a net decrease
18   of $308,000 in contempt fines for the period of June 1 – June 30, 2023
19           8.     Attached as Attachment D is an updated calculation of inpatient contempt fines
20   for the period of May 1 – May 31, 2023. Data updates were made to cases tracked in the Forensic
21   Data System (FDS) due to a combination of changes in client status from in-jail to PR and court
22   order withdrawals, resulting in a net decrease of $276,000 in contempt fines for the period of
23   May 1 – May 31, 2023
24           9.     Attached as Attachment E is an updated calculation of inpatient contempt fines
25   for the period of April 1 – April 30, 2023. Data updates were made to cases tracked in the
26   Forensic Data System (FDS) due to a combination of changes in client status from in-jail to PR


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 1   and court order withdrawals, resulting in a net decrease of $158,500 in contempt fines for the
 2   period of April 1 – April 30, 2023.
 3          10.     Attached as Attachment F is an updated calculation of inpatient contempt fines
 4   for the period of March 1 – March 31, 2023. Data updates were made to cases tracked in the
 5   Forensic Data System (FDS) due to a combination of changes in client status from in-jail to PR
 6   and court order withdrawals, resulting in a net decrease of $21,500 in contempt fines for the
 7   period of March 1 – March 31, 2023.
 8          11.     Attached as Attachment G is a true and correct proposed calculation of outpatient
 9   competency restoration contempt fines from July 1 – July 31, 2023. The first page of the
10   calculation contains a summary of the calculated outpatient competency restoration fines. The
11   following pages include individual class member data, and demonstrate the calculations the
12   Department used in order to reach the proposed outpatient competency restoration fine. Based
13   on this data, the Department proposes a total of $29,000 in outpatient competency restoration
14   fines for the period of July 1 – July 31, 2023.
15          12.     Attached as Attachment H is an updated calculation of outpatient competency
16   restoration fines for the period of June 1 – June 30, 2023. Data updates were made to cases
17   tracked in the Forensic Data System (FDS) due to data updates, resulting in a net decrease of
18   $1,000 in outpatient competency restoration fines for the period of June 1 – June 30, 2023.
19          13.     Attached as Attachment I is a true and correct proposed calculation of in-jail
20   evaluation contempt fines from July 1 – July 31, 2023. The first page of the calculation contains
21   a summary of the calculated in-jail evaluation fines. The following pages include individual class
22   member data, and demonstrate the calculations the Department used in order to reach the
23   proposed in-jail evaluation fine. Based on this data, the Department proposes a total of $165,000
24   in in-jail evaluation contempt fines for the period of July 1 – July 31, 2023.
25          14.     Attached as Attachment J is an updated calculation of in-jail evaluation contempt
26   fines for the period of June 1 – June 30, 2023. Data updates were made to cases tracked in the


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 1   Forensic Data System (FDS) due to due to a good cause extension being granted, resulting in a
 2   net decrease of $3,000 in contempt fines for the period of June 1 – June 30, 2023. The June
 3   Declaration (Dkt. 1011_9, Attachment I) shows in-jail evaluation contempt fines totaling
 4   $93,000. As a result of the policy to pay into the court fund when there is uncertainty as to
 5   whether a fine is owed, the net decrease of $3,000 will not be applied until the court rules on the
 6   issue of good cause extensions and the $93,000 will be paid into the court registry without credit
 7   being taken at this time.
 8          15.     Please note that in Attachments B – J any cell that contains the word “null”
 9   represents a value of zero. This alternative appearance is a result of changes made to the system
10   to enable more automated reporting.
11          16.     Under the Court’s Order Granting Final Approval of Amended Settlement
12   Agreement (Dkt. No. 623), contempt fines relating to Dkt. No. 289 (inpatient fines) shall not be
13   reduced to judgment. However, the Department will continue to calculate and report these
14   inpatient contempt fines each month. The fine amount associated with a delay in admission to
15   the outpatient competency restoration program, as described in Attachment G, is also being
16   included in this suspended category because it is not an in-jail evaluation delay. Based on the
17   current reporting period, as described in Attachments B and G, as well as the calculation updates
18   discussed above and described in Attachments C through F, and H, the inpatient portion of the
19   fines total $5,380,000. This inpatient amount will not be included in the judgment, consistent
20   with the Court’s Order (Dkt. No. 623).
21          17.     RDA has been instructed to calculate fines with and without credit for good cause
22   extensions going forward until the court decides whether the state should receive credit against
23   fines. In the meantime the Department will continue to pay fines without GCE credit calculated.
24          18.     Under the Court’s Order Granting Final Approval of Amended Settlement
25   Agreement (Dkt. No. 623), no changes were made to contempt fines relating to in-jail evaluation,
26   and those fines shall continue to be calculated and reduced to judgment. Based on the current


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 1   reporting period for in-jail fines, as described in Attachment I, as well as the calculation updates
 2   discussed above and described in Attachment J and Attachment I to Docket 1011_9, the
 3   Department proposes that the total judgment for this period should be in the amount of
 4   $255,000.
 5          19.     The data system is a dynamic system and relies on information provided from
 6   entities both in and outside of the Department, which can impact the fine calculations.
 7   The Department will continue to report on corrections to previously reported fine data in each
 8   monthly submission to ensure that all contempt fines are accurately captured.
 9          I declare under penalty of perjury under the laws of the United States and the State of
10   Washington that the foregoing is true and correct to the best of my knowledge.
11          Signed this 15th day of August 2023, at __________________,
                                                     Olympia            Washington.
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                                            DR. THOMAS KINLEN
15                                          Director, Office of Forensic Mental Health Services
                                            Behavioral Health Administration
16                                          Department of Social and Health Services
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 1                                    CERTIFICATE OF SERVICE
 2          I, Christine Townsend, state and declare as follows:
 3          I am a citizen of the United States of America and over the age of 18 years and I am
 4   competent to testify to the matters set forth herein. I hereby certify that on this 15th day of
 5   August 2023, I electronically filed with foregoing document with the Clerk of the Court using
 6   the CM/ECF system, which will send notification of such filing to the following:
 7          David Carlson: davidc@dr-wa.org
 8          Kimberly Mosolf: kimberlym@dr-wa.org
 9          Elizabeth Leonard: bethl@dr-wa.org
10          Christopher Carney: Christopher.Carney@CGILaw.com
11          Sean Gillespie: Sean.Gillespie@CGILaw.com
12          David JW Hackett: david.hackett@kingcounty.gov
13          I certify under penalty of perjury under the laws of the state of Washington that the
14   foregoing is true and correct.
15          Dated this 15th day of August 2023, at Olympia, Washington.
16

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18                                               CHRISTINE TOWNSEND
                                                 Paralegal
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